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                   IN THE UNITED STATES DISTRICT COURT FOR THC                                     Fi; I p
                                                                                          IN             r-r'rsT
                              EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division                                NOV I 2.
 UNITED STATES OF AMERICA                                                         CLf .    '.I •                   •sT


        V.                                             No. I:19-CR-'36n'
 ANDREW JON THOMASBERG,

        Defendant.



                                      PLEA AGREEMENT


       G. Zachary Terwilliger, United States Attorney for the Eastern District of Virginia;

Anthony W. Mariano, Special Assistant United States Attorney; Ronald L. Walutes, Jr.,

Assistant United States Attorney; the defendant, ANDREW JON THOMASBERG;and the

defendant's counsel have entered into an agreement pursuant to Rule 1 1 of the Federal Rules of

Criminal Procedure. The terms of the agreement are as follows:

       1.      Offense and Maximum Penalties

       The defendant agrees to waive indictment and plead guilty to a two-count criminal

information charging the defendant with making a material false statement in relation to the

purchase of a firearm, in violation of Title 18. United States Code, Section 922(a)(6)(Count

One), and with possession of a firearm by a controlled substance abuser, in violation of Title 18,

United States Code, Section 922(g)(3)(Count Two). The maximum penalties for each count are:

a maximum term of 10 years of imprisonment, a fine of$250,000, forfeiture of assets as outlined

below, special assessments pursuant to 18 U.S.C. § 3013, and a supervised release term of a

maximum of 3 years. The defendant understands that this supervised release term is in addition

to any prison term the defendant may receive, and that a violation of a term ofsupervised release

could result in the defendant being returned to prison for the full term of supervised release.
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